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IN THE UNITED STATES DISTRICT COURT `~ 0/,
FOR THE WESTERN DISTRICT OF TENNESSEE 45 "“'
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‘-/ l/"
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t.»,'( .'
oZELLA wADLEY and JosEPH ) `Q'Bt/ f
WADLEY, )
)
Plaintiffs, )
)
VS. ) No. 04-1276-T/An
)
GRANGE MUTUAL CASUALTY )
CoMPANY, )
)
Defendant. )

 

ORDER SETTING ASIDE DISMISSAL

 

On April 22, 2005, the Court ordered defendant to file, within eleven days, an
itemization of costs incurred due to plaintiffs’ voluntary dismissal of a previous action.
Plaintiffs were directed to file, within eleven days after filing of the itemization, either an
objection or proof of payment The Court stated that plaintiffs’ failure to comply Would
result in immediate dismissal of this action without further notice. The order was entered
on the docket on April 25, 2005.

On June 6, 2005, the Court entered an order dismissing the action, as the official
docket did not show that plaintiffs had complied with the April 25th order. However, on
June 7, 2005, the Court was notified, informally, by plaintiffs’ counsel that proof of

payment had been submitted on May 16, 2005.

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Upon investigation, the Court has determined that counsel did submit timely proof
of payment However, counsel did not send a notice of compliance, with proof of payment
attached, to the Clerk of Court for filing Instead, on May 13*' counsel merely faxed to the
Clerk’s office a copy of a letter sent to Russell E. Reviere, counsel for defendant, along with
a photocopy of the accompanying check. Additional copies of both the letter and check
were later sent to the Clerk via overnight mail, and were received on May l6“‘.

Unless directed to do so by the Court, the Clerk’ s office generally does not file letters,
especially copies of letters not specifically addressed either to the Clerk or to the Court.
Letters are stamped “RECEIVED” only and are not considered part of the official case
record; therefore, no entry showing receipt of the letter submitted by counsel was made on
the official docket

The Clerk is directed to file the documents received on May 16, 2005 as proof of
compliance with the order of April 22, 2005 .l The order of dismissal is hereby SET ASIDE.

IT IS SO ORDERED.

 

 

 

 

1 in the future, counsel should remember that information intended to be made part of the official record
should be submitted in the form of an actual court document, not merely a letter.

2

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 1:04-CV-01276 was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

